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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


 DIOCELINA RUEDA                                          Case No. 1:19-cv-01739

                      Plaintiff,                          Judge Gary Feinerman
                                                          Magistrate Judge M. David Weisman
          -v-

 MIDLAND CREDIT MANAGEMENT, INC.                          AMENDED COMPLAINT
                                                          JURY DEMAND ENDORSED HEREON
                     Defendant.


        Plaintiff, Diocelina Rueda, for her first amended complaint against Midland Credit

Management, Inc. (“Defendant”), states as follows:

                                      NATURE OF THE ACTION

   1.    Plaintiff brings this action seeking damages pursuant to the Fair Debt Collection Practices

Act, 15 U.S.C. §§ 1692 et seq. (“FDCPA”), for Defendant’s unlawful collection practices as more

fully described in this complaint.

                                     JURISDICTION AND VENUE

   2.    This action arises under and is brought pursuant to the FDCPA. Subject matter jurisdiction

is therefore conferred upon this Court by 15 U.S.C § 1692k and 28 U.S.C. §§ 1331, 1337, as the

action arises under the laws of the United States.

   3.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391 as Defendant transacts business

within the Northern District of Illinois and the events and/or omissions giving rise to the claims

made in this complaint occurred within the Northern District of Illinois.
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                                               PARTIES

    4.    Plaintiff, Diocelina Rueda (“Ms. Rueda”), is a natural adult person residing in Berwyn,

Illinois, which lies within the Northern District of Illinois.

    5.    Ms. Rueda is a “consumer” as that term is defined by § 1692a(3) of the FDCPA.

    6.    Defendant, Midland Credit Management, Inc. (“MCM”), is a Delaware corporation in the

business of collecting consumer debts on behalf of others within the State of Illinois and

throughout the United States. As such, MCM regularly uses the mails and/or telephone to collect,

or attempt to collect, delinquent consumer accounts.

    7.    On its website and within its correspondences to consumers, MCM identifies itself as a

“debt collector,” and has been a member of the Association of Credit and Collection Professionals

since 1991.

    8.    MCM is a “debt collector” as that term is defined by § 1692a(6) of the FDCPA.

    9.    MCM acted through its agents, employees, officers, directors, heirs, successors, assigns,

principals, trustees, sureties, subrogees, representatives and/or insurers at all times relevant to this

action.

                               FACTS SUPPORTING CAUSES OF ACTION

   10.    As Ms. Rueda was reviewing her credit, she noticed that MCM had obtained her credit

report for a “collection” purpose on April 11, 2018, August 17, 2018, October 3, 2018 and

February 2, 2019. Relevant pages from Ms. Rueda’s Experian credit report, dated February 13,

2019, are attached to this complaint as Exhibit A.

   11.    On or around February 13, 2019, Ms. Rueda accessed MCM’s website to ascertain more

information about the inquiries made into her credit and the debt(s) MCM was attempting to collect

from her (the “Payment Portal”).



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   12.   During Ms. Rueda’s access to the Payment Portal, MCM identified itself to Ms. Rueda as

a debt collector attempting to collect upon a debt.

   13.   During Ms. Rueda’s access to the Payment Portal, MCM attempted to collect a consumer

debt from Ms. Rueda that was originally incurred to Fifth Third Bank (the “Subject Debt”).

  14.    During Ms. Rueda’s access to the Payment Portal, MCM stated, in relevant part:

               “The law limits how long you can be sued on a debt and how long a
               debt can appear on your credit report. Due to the age of this debt,
               we will not sue you for it or report payment or nonpayment of it to
               a credit bureau.”

  15.    As of February 13, 2019, the date of Ms. Rueda’s accessing of the Payment Portal, the

Subject Debt was a time-barred debt, i.e., it fell outside the applicable statute of limitations period.

   16.    The applicable statute of limitations for the Subject Debt states, in relevant part:

               “Except as provided in Section 2-725 of the ‘Uniform Commercial Code’,
               approved July 31, 1961, as amended, and Section 11-13 of ‘The Illinois
               Public Aid Code’, approved April 11, 1967, as amended, actions on
               unwritten contracts, expressed or implied . . . shall be commenced within 5
               years next after the cause of action accrued.” See 735 ILCS § 5/13-205.

  17.    MCM attempted to collect the Subject Debt from Ms. Rueda during her accessing of the

Payment Portal, including offering her “Discount Offers.”

  18.    The Payment Portal stated, in relevant part: “Making a good-faith payment will not settle

your account. Please consider establishing a payment plan.”

  19.    The Payment Portal stated, in relevant part: “Resolve Your Account Today. Use this

option to make a 1-Time, good-faith payment towards your outstanding balance.”

  20.    The Payment Portal stated, in relevant part: “We are not obliged to renew these offers.”

   21.    The Payment Portal stated, in relevant part: “This offer may not be available after today.

In order to accept this offer, please make a payment today.”




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  22.    As of February 13, 2019, the date Ms. Rueda first accessed the Payment Portal, MCM

had no present intention of removing, lifting or otherwise not honoring the “Discount Offers” that

were reflected on the Payment Portal at any point of time in the future.

  23.    After a reasonable time to conduct discovery, Ms. Rueda believes she can prove that all

actions taken by MCM as described in this complaint were taken willfully and/or with knowledge

that its actions were taken in violation of the law.

                                              DAMAGES

  24.    Ms. Rueda was misled by MCM’s collection actions.

  25.    Ms. Rueda justifiably fears that, absent this Court’s intervention, MCM will continue to

attempt to collect payment from her on time-barred debt(s) and ultimately cause unwarranted harm

to her credit or otherwise harm her economically.

  26.    Ms. Rueda justifiably fears that, absent this Court’s intervention, MCM will continue to

use unlawful methods and/or means in its attempts to collect the Subject Debt from her.

  27.    As a result of MCM’s conduct, Ms. Rueda was forced to hire counsel and her damages

therefore include reasonable attorneys’ fees incurred in prosecuting this claim.

  28.    As a result of MCM’s conduct, Ms. Rueda is entitled to statutory damages, punitive

damages and all other appropriate measures to punish and deter MCM and other debt collection

agencies from engaging in the unlawful collection practices described in this complaint.

                                     GROUNDS FOR RELIEF

                   VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                         15 U.S.C. §§ 1692e, e(2)(A), e(5), e(10) and f

  29.    All prior paragraphs are incorporated into this count by reference.

  30.    The FDCPA states, in relevant part:



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                “A debt collector may not use any false, deceptive, or misleading
               representation or means in connection with the collection of any debt.
               Without limiting the general application of the foregoing, the following
               conduct is a violation of this section: (2) The false representation of --
               (A) the character, amount, or legal status of any debt; (5) The threat to
               take any action that cannot legally be taken or that is not intended to be
               taken; (10) The use of any false representation or deceptive means to
               collect or attempt to collect any debt or to obtain information concerning
               a consumer.” 15 U.S.C. §§ 1692e, e(2)(A), e(5) and e(10).

               “A debt collector may not use unfair or unconscionable means to collect
               or attempt to collect any debt.” 15 U.S.C. § 1692f.

   31.    Defendant violated 15 U.S.C. §§ 1692e, e(2)(A), e(5), e(10), and f through its

representations and/or omissions to Plaintiff on the Payment Portal.

   32.    Defendant’s representations and/or omissions to Plaintiff through the Payment Portal, as

cited above, supra, were false, deceptive and/or misleading to the extent they created the false

impression that Defendant had chosen not to sue Plaintiff in connection with the Subject Debt, not

that it was legally barred from doing so. Defendant knew that the applicable statute of limitations

to collect the Subject Debt had expired, yet failed to provide complete and/or accurate disclosure

of the implications of same to Plaintiff.

   33.    Defendant’s representations and/or omissions to Plaintiff through the Payment Portal, as

cited above, supra, were false, deceptive and/or misleading to the extent they created a false sense

of urgency that Plaintiff must act immediately to pay off the Subject Debt in order to take

advantage of Defendant’s “Discount Offers.” As Defendant had no present intention of removing,

lifting or otherwise not honoring the “Discount Offers” that were reflected on the Payment Portal

at any point of time in the future, Defendant threatened an action that it did not intend to take in

violation of § 1692e(5) of the FDCPA.

   34.    As an experienced debt collection agency, Defendant knows that the statements it makes

to consumers during its debt collection communications have to be true, complete and accurate,

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especially when Defendant is attempting to collect time-barred debt. Defendant had an obligation

to accurately alert Plaintiff as to her rights with respect to the Subject Debt, but skirted this

obligation with deceptive and misleading representations and/or omissions.

   35.     As set forth in paragraphs 24 through 28 above, Plaintiff has been harmed and has

suffered damages as a result of Defendant’s unlawful collection practices as described in this

complaint.

                                      PRAYER FOR RELIEF

    WHEREFORE, Plaintiff, Diocelina Rueda, respectfully requests that this Court enter

judgment in her favor as follows:

         A. Awarding Plaintiff actual damages, in such an amount as determined by the jury, as
            provided under 15 U.S.C. § 1692k;

         B. Awarding Plaintiff statutory damages in the amount of $1,000.00, as provided under
            15 U.S.C. § 1692k(a)(2)(A);

         C. Awarding Plaintiff the costs of this action and reasonable attorneys’ fees, as provided
            under 15 U.S.C. § 1692k(a)(3); and

         D. Awarding Plaintiff such other and further relief as may be just and proper.


DATED this 24th day of April, 2019.                  Respectfully Submitted,

                                                       /s/ Geoff B. McCarrell
                                                     Geoff B. McCarrell #0086427
                                                     H. Joshua Chaet #6206717
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                                                     geoff.m@consumerlawpartners.com

                                                     Counsel for Plaintiff



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                                         JURY DEMAND

    Pursuant to FED. R. CIV. P. 38(b), Plaintiff demands a trial to a jury on all issues of fact.

                                                      /s/ Geoff B. McCarrell
                                                     Geoff B. McCarrell #0086427
                                                     CONSUMER LAW PARTNERS, LLC




                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and accurate copy of the foregoing Amended

Complaint is being filed electronically with the United States District Court for the Northern

District of Illinois on this 24th day of April, 2019. Notice of this filing will be transmitted to

counsel of record by operation of the Court’s electronic filing system.

                                                       /s/ Geoff B. McCarrell
                                                      Geoff B. McCarrell #0086427
                                                      CONSUMER LAW PARTNERS, LLC




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